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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------X
                                                          :
MARIO RINALDI,                                            :
                                                          :
                                        Plaintiff,        :
                                                          :      16-cv-1901 (VSB)
                      -against-                           :
                                                          :        JUDGMENT
SCA LA GOUTTE, D’OR, SAS CH. &                            :
A. PRIEUR,                                                :
                                                          :
                                        Defendants. :
                                                          :
----------------------------------------------------------X

VERNON S. BRODERICK, United States District Judge:

         WHEREAS, a jury trial was held in the above-captioned action before the Hon. Vernon

S. Broderick, United States District Court Judge, commencing on February 17, 2022 and lasting

ten (10) days;

         WHEREAS, after due deliberation, the jury returned a verdict in favor of Plaintiff Mario

Rinaldi (“Plaintiff”) in this action in the amount of One Million Five Hundred Thousand Dollars

($1,500,000.00);

         WHEREAS, the calculation of pre-judgment interest is the subject of pending briefing,

(see Docs. 238, 242, 243);

         WHEREAS, Plaintiff is entitled to post-judgment interest pursuant to 28 U.S.C.S. §

1961;

         IT IS HEREBY ORDERED, ADJUDGED and DECREED that Plaintiff Mario Rinaldi

has judgment against Defendant SCA La Goutte d’Or in the amount of One Million Five

Hundred Thousand Dollars ($1,500,000.00), in addition to any applicable post-judgment interest.

Because the calculation of pre-judgment interest is the subject of pending briefing, the Judgment
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will be amended as necessary to reflect the amount of any applicable pre-judgment interest once

the issue is resolved.

SO ORDERED.

Dated: March 29, 2022
       New York, New York

                                                   ______________________
                                                   Vernon S. Broderick
                                                   United States District Judge
